     Case 3:19-cv-07647-WHA Document 77-6 Filed 11/16/20 Page 1 of 2



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17   situated

18
                           UNITED STATE DISTRICT COURT
19                NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO
20
     AARON KUDATSKY, individually and on           ) Case No. 3:19-CV-07647-WHA
21   behalf of all others similarly situated,      )
                                                   ) PROOF OF SERVICE
22                                                 )
                                Plaintiff,         )
23                                                 )
                                                   )
24          vs.
                                                   )
                                                   )
25                                                 )
     TYLER TECHNOLOGIES, INC.
                                                   )
26                                                 )
                                Defendant.
27                                                 )
                                                   )
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     [PROOF OF SERVICE                                                      US_ACTIVE-154098109.1
     Case 3:19-cv-07647-WHA Document 77-6 Filed 11/16/20 Page 2 of 2



 1          I am employed in the County of San Francisco, State of California. I am over the age of
     18 and not a party to the within action; my business address is: 235 Montgomery St., Suite 810
 2   San Francisco, CA 94104.
 3
               On November 16, 2020, I served the following document(s) described as:
 4

 5        •    DECLARATION OF DANILE S. BROME IN SUPPORT OF PLAINTIFFS’
               ADMINISTRATIVE MOTION TO FILE UNDER SEAL
 6
     on the interested party(ies) below, using the following means:
 7
     Paulo McKeeby                                         Brian K. Morris
 8                                                         bmorris@reedsmith.com
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 9   pmckeeby@reedsmith.com                                101 Second Street, Suite 1800
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13   Facsimile: (469) 680-4299
14
     [X] BY ELECTRONIC MAIL: Based on a court order or an agreement to accept service by
15   electronic mail, I caused the document(s) identified above to be transmitted electronically to the
     person(s) at the e-mail address(es) listed above. I did not receive, within a reasonable time after
16   the transmission, any electronic message or other indication that the transmission was
     unsuccessful.
17
     [] (FEDERAL) I declare that I am employed in the office of a member of the bar of this Court
18   whose direction the service was made.

19   Executed on November 16, 2020, at San Rafael, California.

20
     Daniel S. Brome                                                      S/ Daniel S. Brome
     [Print Name of Person Executing Proof]                               [Signature]
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